Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 1 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 2 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 3 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 4 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 5 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 6 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 7 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 8 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 9 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 10 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 11 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 12 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 13 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 14 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 15 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 16 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 17 of 18
Case 22-01109-MBK Doc 1-3 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                Exhibit 61 Redwood Contract Page 18 of 18
